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     Chris Reichman SBN 250485
1    PRATO & REICHMAN, APC
     3737 Camino del Rio South, Suite 303
2    San Diego, CA 92108
     Telephone: 619-683-7971
3    Facsimile: 619-241-8309
4    Attorney for Plaintiff
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8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
      JONATHAN SAPAN,                                         Case No.: 13-cv-1965 L WVG
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12
                                                              NOTICE OF SETTLEMENT
                      Plaintiff,
13            vs.
14
      MILESTONE SYSTEMS, INC., an
15
      Oregon corporation,
16    ERIC FULLERTON, an individual
17
                      Defendants.
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     ________________________________________________________________________________________________________

                                               Notice of Settlement
       Case 3:13-cv-01965-L-WVG Document 5 Filed 11/07/13 PageID.21 Page 2 of 2




1
             Comes now Plaintiff JONATHAN SAPAN, to notify the Court that the

2    parties have reached settlement of the material issues in dispute in the above
3
     captioned case and expect to be able to draft and execute a final written settlement
4

5    agreement within a reasonable amount of time, not to exceed thirty days. Plaintiff
6
     will file a notice of dismissal with prejudice upon final settlement.
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     DATED: November 7, 2013                                 PRATO & REICHMAN, APC
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                                                             __/s/ Christopher J. Reichman____
                                                             By: Christopher J. Reichman,
13
                                                             Attorney for Plaintiff,
14                                                           PAUL SAPAN
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                                               Notice of Settlement
